            Case 3:21-cr-00121-JD Document 80 Filed 09/14/21 Page 1 of 1




                                     Probation Referral
 DEFENSE COUNSEL shall be required to accompany a defendant who has just pled guilty or
   who has been convicted to the Probation Office on the 17th floor for an initial interview.

Anthony Castellano, Chief
U.S. Probation Office
450 Golden Gate Avenue
San Francisco, CA 94102

USPO assigned:
USPO email:
Date assigned:
Under seal?                          Yes                  ✔     No

Please conduct an investigation and render:         Presentence Report

Instructions:
Name:                 Simon Sage Ybarra
Criminal number:      3:21-cr-00121-JD-3
Count:                One
Charge:               18 U.S.C. § 1512(k) - Conspiracy to Destroy Records in Official Proceedings
Multi defendant / related case(s):                  Yes
                                     Custody              ✔     Bond
                                     Jury Verdict               Rule 20
                                     Open Plea            ✔     Plea Agreement
Interpreter needed?                  Yes                        No
Language:

Sentencing date:      2/7/2022                                  Time:         10:30 AM

Attorneys
USA:                  Eric Cheng
Defense:              Adam Pennella

for Honorable
                      James Donato

Date:                 9/14/22                                 Lisa R. Clark
                                                              Courtroom Deputy Clerk
  Submit to Probation
